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UNITED STATES OF Al\/IERICA * i` ` '1` :~-.. i)i TROL§O
* L»...L*'- U.S. DIST. h`T.
. W_i".]_ t’_j§'l` TN MEMFHIS
VS. * CR. NO. 2:02(:1‘20191-1-])
sp
TERRY BOWEN *

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On June 24, 2005, Terry Bowen appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant had previously been advised
of his rights under Fed.R.Crim.P. 5 and 32.1(a), and counsel was retained.

At this hearing, the defendant Was released on bond and, therefore, a preliminary hearing on

the violation was not required. §§ United States v. Sciuto, 531 F.2d 842, 846 (7th Cir. 1976) and

 

United States v. Tucker, 524 F.2d 77, 78 (Sth Cir. 1975), Lrt. denied, 424 U.S. 966, 96 S.Ct. 1462,

 

 

47 L.Ed.2d 733 (1976).
Accordingly, defendant, Terry Bowen is held to a final revocation hearing before United
States District Judge Bernice B. Donald. It is presumed that the District Judge will set this matter

for a revocation hearing pursuant to Fed.R.Crirn.P. 32.1(b), (c), and will see that appropriate notices

are given.
rr ls so oRDERED this 2 Lfday of T\) va , 2005. L\;:
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TU M. PHAM
UNTI`E.D STATES MAGISTRATE JUDGE

This dochent entered on the docket sheet ln compliance
with Rule 55 andfor Szlbl FRCrP on

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This notice confirms a copy of the document docketed as number 78 in
case 2:02-CR-20191 vvas distributed by faX, mail, or direct printing on
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John Thornas Tibbetts

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

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l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

